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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                  SEATTLE DIVISION

Nicole Schlipp                                           Case No.:
35426 25th Ave SW, #9101
Federal Way, WA 98023                                    Judge:

         Plaintiff,                                         COMPLAINT FOR DAMAGES
                                                              UNDER THE FAIR DEBT
v.                                                        COLLECTION PRACTICES ACT AND
                                                             OTHER EQUITABLE RELIEF
IQ Data International, Inc
c/o Kenneth Stumbo, Registered Agent
1010 SE Everett Mall Way, #100                            JURY DEMAND ENDORSED HEREIN
Everett, WA 98208

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. At the time of the communications referenced herein, Defendant either owned the debt or

     was retained by the owner to collect the debt.

4. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

6. On or around April 23, 2010, Defendant telephoned Plaintiff.

7. During this communication, Plaintiff denied owing the debt.

8. During this communication, Defendant threatened to garnish Plaintiff’s unemployment

     benefits unless Plaintiff proves that she did not owe the debt by April 26, 2010.




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9. At the time of this communication, Defendant had neither the intent nor ability to garnish

   Plaintiff’s unemployment payments.

10. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

11. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

12. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

13. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

14. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

15. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

17. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.

                                          COUNT FOUR

                         Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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19. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

    unconscionable means to collect the debt.

                                          JURY DEMAND

20. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

21. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: _/s/ Mona Lisa C. Gacutan____
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